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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
                      Criminal No. 22-40 (JRT/LIB)



UNITED STATES OF AMERICA,

                   Plaintiff,
                                                 GOVERNMENT’S
             v.                                  RESPONSE TO
                                                 DEFENDANT PATEL’S
(1) HARSHKUMAR RAMANLAL PATEL                    MOTIONS IN LIMINE
a/k/a “Dirty Harry,”                             1-6 (ECF 138-143)
a/k/a Harry Patel,
a/k/a Param Singh,
a/k/a Haresh Rameshlal Patel,
a/k/a Harshkumar Singh Patel, and
(2) STEVE ANTHONY SHAND,

                   Defendants.


       The United States of America, through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, Assistant United States

Attorney Michael P. McBride and Trial Attorney Ryan Lipes, respectfully

submits this omnibus response to Defendant Harshkumar Patel’s Motions in

Limine 1-6 (ECF 138-143).


  I.      Response to Motion in Limine #1 (ECF 138): Defendant’s
          Immigration Status

       Defendant Patel moves to bar the introduction of evidence about his

immigration status. See ECF 138. To start, the government does not intend
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to introduce evidence of Defendant Patel’s immigration status. In other words,

the government does not intend to introduce evidence of whether Defendant

Patel has immigration status in the United States or what that immigration

status is. Nor does the government intend to refer to him using any prejudicial

terms related to his immigration status. See, e.g., United States v. Cruz-

Padilla, 227 F.3d 1064, 1068-69 (8th Cir. 2000) (finding the government’s

comments about defendant’s status as an “illegal alien” to be prejudicial in a

drug conspiracy trial).

      But the government does intend to introduce specific forms from

Defendant Patel’s Alien file, or “A-File,”1 which are highly relevant to this case

because the forms connect Defendant Patel to the phone number used to

conspire with Steve Shand to smuggle aliens across the border. Indeed, the

government expects that a key part of Defendant Patel’s defense will be

challenging the attribution of this phone number to him. Specifically, the

government intends to introduce the following documents that Defendant

Patel submitted and that were made a part of his A-File: (1) the Notice of Entry


1 An A-File is an individual file for an alien that contains records from

interactions with U.S. Citizenship and Immigration Services, Customs and
Border Protection, and Immigration and Customs Enforcement. Courts have
routinely found that A-Files are business and public records. See, e.g., United
States v. Ngombwa, 2016 WL 111434, at *9 (N.D. Iowa January 10, 2016);
United States v. Caraballo, 595 F3d 1214, 1226 (11th Cir. 2010); cf., United
States v. Lorenzo-Lucas, 775 F.3d 1008, 1009-10 (8th Cir. 2014) (upholding
admission of A-File documents over confrontation clause objection).
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of Appearance (Form G-28), (2) the Application to Register Permanent

Residence or Adjust Status2 (Form I-485), and (3) the birth certificate, photo

ID, and fingerprint card that Defendant Patel provided to immigration

authorities.

      Of course, these forms will necessarily convey to the jury that Defendant

Patel has applied for some type of immigration status—in the case of Form I-

458, it implies that one has applied for permanent residency.          And it is

important for the jury to understand what these forms are used for, including

obtaining permanent residence, so that the jury understands that a person

completing these forms has a strong incentive to provide accurate contact

information, including a valid phone number.

      The Court should thus deny Defendant Patel’s motion in limine to the

extent it would limit the introduction of this highly probative evidence.

                            Factual Background

      Throughout the charged conspiracy, Steve Shand communicated with

Defendant Patel on a T-Mobile phone number ending in -0618. Using the -0618

phone number, Defendant Patel coordinated the smuggling of aliens across the

Canadian border into vehicles rented by Steve Shand.              See ECF 132


2
 The government plans to redact Part 2 of Form I-485, which details the
immigration application type or filing category. Redacting this section should
address most of defendant’s concerns and limit the information about the
defendant’s specific immigration status.
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                                  Argument

      These documents from Defendant Patel’s A-File are critical to

establishing Defendant Patel’s identity as the person involved with Steve

Shand in the alien smuggling conspiracy.         The A-File documents link

Defendant Patel to the -0618 phone number, and thus to text messages

showing Defendant Patel’s role in the smuggling conspiracy. See United States

v. Sahavneh, 480 Fed. App’x 530, 534-35 (11th Cir. 2012) (upholding admission

of defendant’s A-File to show knowledge of and familiarity with immigration

process in alien smuggling trial); cf., United States v. Brik, Crim. No. 15-CR-

78, 2016 WL 3753080, at *8 (D. Minn. July 11, 2016) (admitting text messages

that necessarily implied defendant was on probation because the messages

showed defendant’s knowledge of drugs in his urine). Because the forms are

highly probative of Defendant Patel’s identity and role in the smuggling

conspiracy, the selected forms from the A-File are relevant at trial. See Fed.

R. Evid. 401.

      Moreover, the information from the A-File that the government intends

to introduce has little to no prejudicial value. The government has limited the

information to mostly biographical information on two forms submitted by

Defendant Patel to U.S. immigration authorities.      Indeed, there is nothing

wrong in applying for permanent residence; in fact, obtaining a green card

would likely be cause for celebration. See Sahavneh, 480 Fed. App’x at 534-35.

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In Sahavneh, for example, the defendant argued that the jury might speculate

that his immigration was the result of “wrongdoing” if the court admitted his

A-File. Id. at 534. But—like what the government intends to do here—the

government did not argue or imply that there was anything improper about

the way Sahavneh obtained citizenship. Id. at 535. Thus, any danger of unfair

prejudice was “minimal” and “did not outweigh, much less substantially

outweigh, the probative value” of the defendant’s A-File in an alien smuggling

trial. Id.

         That same analysis applies here too. This evidence is highly relevant

because it connects Defendant Patel to a key phone number used in the

conspiracy.      Any small amount of prejudice from this evidence is not

“substantially outweighed” by the highly probative value of this evidence. For

these reasons, the Court should deny Defendant Patel’s motion in limine to the

extent it would limit the introduction of this highly probative evidence from

Defendant Patel’s A-File.


   II.       Response to Motion in Limine #2 (ECF 139): Crime Scene and
             Autopsy Photos

         Defendant Patel also moves to exclude crime scene and autopsy

photographs, as well as photographs of the victims while alive. See ECF 139.

Notably, Defendant Patel “does not dispute” that the “victims died of exposure

as a result of the severe cold.” See ECF 139 at 1. But the government has

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received no similar stipulation from co-defendant Shand. In any event, the

limited crime scene and “in life” photographs that the government intends to

introduce are highly probative evidence that have little risk of unfair prejudice.

The government does not intend to introduce autopsy photographs, as Canada

did not produce any autopsy photographs to the government through its

mutual legal assistance process.

      A. Crime Scene Photographs

      The government intends to introduce a limited number of crime scene

photographs from the Royal Canadian Mounted Police showing the bodies of

the deceased Patel family.3 These photographs will provide the jury with

highly probative evidence that tends to show the location of the Patel family

near the U.S. Border (including that the Patel family was not attempting to

cross near a port of entry), the terrain that the migrants were expected to walk

though in freezing conditions as part of the smuggling conspiracy, and the

clothes the victims were wearing for the border crossing. And the photographs

will show the jury how and in what condition the victims died. See United

States v. Simpson, 44 F.4th 1093, 1098 (8th Cir. 2022) (upholding admission of

crime scene photographs that showing “the location and state of [the victim’s]

body when it was discovered” and that “tended to show the cause of death”).


3 If needed, the government can provide the photographs to the Court for

in-camera review.
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These limited crime scene photographs thus connect the Patel family to the

smuggling conspiracy and show how the smuggling conspiracy caused serious

bodily injury and placed lives in jeopardy.

      None of these photographs are so “gruesome or inflammatory” as to

require exclusion under Federal Rule of Evidence 403. See United States v.

Petary, 857 F.2d 458, 463 (8th Cir. 1988) (upholding admission of crime scene

photographs unless they are “so gruesome or inflammatory that its prejudicial

impact substantially outweighs its probative value”). The photographs here

are, no doubt, much less “gruesome or inflammatory” than many crime scene

photographs regularly admitted at trial. See, e.g., United States v. Ortiz, 315

F.3d 873, 897 (8th Cir. 2002) (upholding admission of “graphic” crime scene

photographs showing “the victim’s bloody corpse” because they had “significant

probative value” that established how the victim died and corroborated other

testimony); Petary, 857 F.2d at 463 (upholding admission of photographs of

murder victim showing signs of a struggle and blood at the site); United States

v. Ingle, 157 F.3d 1147, 1153 (8th Cir. 1998) (upholding admission of crime

scene and autopsy photographs of murder victim).

      Defendant Patel’s motion to exclude the crime scene photographs should

be denied.




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      B. “In Life” Photographs

      Additionally, Defendant Patel moves to exclude any photographs of the

victims “while they were still alive.” ECF 139 at 2. Generally, limited “in life”

or “spark of life” photographs are permissible to “present the victim as a human

being.” See United States v. Broussard, 589 F. Supp. 3d 1031, 1038 (D. Minn.

2022) (internal citations omitted) (admitting “spark of life” photograph of each

deceased victim in fentanyl distribution resulting in death case).

      Here, however, “in life” photographs are even more relevant. A migrant

smuggled into the United States on January 19, 2022, was carrying a

backpack. Inside the backpack were children’s clothing and diapers, as well as

photographs of the deceased family found in Canada. The photographs appear

to be passport-type headshots of each of the deceased victims.        Thus, the

photographs in the backpack connect the deceased victims to the other

migrants smuggled into the United States as part of the defendants’ conspiracy

on January 19, 2022.

      Given this highly probative evidence and the lack of any articulable

prejudice that would stem from admission of these “in life” photographs,

Defendant Patel’s motion should be denied.




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   III.   Response to Motion in Limine #3 (ECF 140): Request for
          Advance Notice of Testifying Witnesses

      Defendant Patel next moves for an order that the Government reveal the

identities of witnesses before the close of trial each day. See ECF 140. The

government will endeavor to provide counsel with notice of witness scheduling

to ensure a smooth trial without needless delays, subject to witness availability

issues that may arise during trial.


   IV.    Response to Motion in Limine #4 (ECF 141): Character
          Evidence

      Defendant Patel moves to preclude the government from eliciting

opinion evidence from any testifying witness as to the truthfulness of

Defendant Patel’s past statements or any other personal opinions as to

Defendant Patel’s character. See ECF 141. Defendant Patel does not identify

what, specifically, he is asking the Court to preclude other than broadly

recapitulating the Federal Rules of Evidence. For that reason, his motion

should be denied as moot.

      Federal Rules of Evidence 404(a) and 608 govern the use of character

evidence at trial.   The admissibility of some evidence, such as Defendant

Patel’s character for truthfulness, depends on whether he testifies at trial. For

example, Defendant Patel could be cross-examined about false statements in

his application for permanent residency. See, e.g., United States v. Yong Ping



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Liu, 288 Fed. App’x 193, 204-05 (5th Cir. 2008) (“The district court thus did not

abuse its discretion in finding the government’s cross-examination of

[defendant] on the truthfulness of her answers in her own immigration form

permissible under Rule 608(b).”).4

         The parties can make objections under Rules 404(a) and 608 when

appropriate at trial. Without more of a factual basis, however, his motion is

premature. Until then, Defendant Patel’s motion should be denied.


    V.     Response to Motion in Limine #5 (ECF 142): Expert Witnesses

         Defendant Patel moves in limine to prohibit the government from

offering any previously undisclosed expert testimony. See ECF 142. This

motion should be denied.

         Defendant Patel asserts that the government “has yet to disclose expert

witnesses.” See ECF 142 at 1. That is not the case. The government has

disclosed five expert witnesses.     A week before Defendant Patel’s motion,

consistent with the Court’s scheduling order, the government disclosed four of

the expert witnesses. See ECF 145, Attachment 1 (Government’s October 21,




4
 To be sure, should Defendant Patel testify at trial, the government may seek
to cross-examine him about false answers on his immigration forms. For
example, Defendant Patel said on his Form I-485 that he had never been
denied a visa to the United States. However, he was denied visas multiple
times: in August and September 2014, February 2015, and April 2016.
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2024, Expert Disclosure Letter).5 The government also disclosed to defense

counsel a fifth expert report for Craig Hellmann, a fingerprint specialist, on

October 28, 2024—the same day that the government received the report from

the forensics lab. The next day, October 29, 2024, the government provided its

Rule 16 disclosure obligations as to Mr. Hellmann, including providing his CV

and previous expert testimony in a letter to counsel for both defendants. See

ECF 145, Attachment 2 (Government’s October 29, 2024, Expert Disclosure

Letter).

      The defendant’s motion should be denied for two reasons.            First,

Defendant Patel’s motion is moot because his factual premise is mistaken. As

detailed above, the government has disclosed experts to counsel for both

defendants.

      Second, as to the fifth expert, the defendant cannot show any prejudice

to a small delay in disclosure. See United States v. Waln, 916 F.3d 1113, 1115

(8th Cir. 2019). The fingerprint report was turned over on the day that the

government received it (October 28) and Rule 16 disclosures were sent to

counsel the following morning (October 29). This still left three weeks before




5 After receiving Defendant Patel’s Motion in Limine, the government

emailed Defendant Patel’s counsel on October 29, 2024, questioning their
assertion that the government did not disclose any expert witnesses and re-
supplying the October 21, 2024, expert disclosure materials. The government
did not receive a response.
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trial. In addition, “fingerprint evidence and analysis is generally accepted.”

See United States v. Collins, 340 F.3d 672, 683 (8th Cir. 2003). And the report

matches Defendant Patel’s arrest fingerprints to the fingerprints in his A-File,

a finding that was not unexpected and is corroborated by other evidence in

Defendant Patel’s A-File (including photographs, signatures, and his birth

certificate).

      For these reasons, Defendant Patel’s Fifth Motion in Limine should be

denied.


   VI.    Response to Motion in Limine #6 (ECF 143): 404(b)/609
          Evidence of Prior Bad Acts

      The defendant moves to prohibit evidence of prior bad acts in the

government’s 404(b) notice, ECF 122.          See ECF 143.      The Government

separately filed a motion in limine to admit this evidence at ECF 125. In

response to this motion, the government incorporates ECF 125 by reference.




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                             CONCLUSION

     For these reasons, Defendant Patel’s motions in limine should be denied.


Dated: November 6, 2024             Respectfully submitted,
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